46 F.3d 1125
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Todd William LAMB, Plaintiff-Appellant,v.STATE of Maryland;  Officer Dove;  Lieutenant Hunter,Defendants-Appellees.
    No. 94-7148.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 13, 1994.Decided Jan. 18, 1995.
    
      Todd William Lamb, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Amy Kushner Kline, OFFICE OF THE ATTORNEY GENERAL, Baltimore, MD for Appellees.
      Before WIDENER and NIEMEYER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lamb v. State of Maryland, No. CA-93-4214-N (D. Md. Sept. 9, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    